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                                            THE HONORABLE ROBERT S. LASNIK




                         IN THE UNITED STATES DISTRICT COURT

                   WESTERN DISTRICT OF WASHINGTON AT SEATTLE



   EVAN CARNAHAN,                                            Case No. 2:17-cv-00086 RSL

                           Plaintiff,                        REPLY IN SUPPORT OF MOTION TO
                                                             COMPEL DISCOVERY AND
   vs.                                                       DETERMINE SUFFICIENCY OF
                                                             ANSWERS
   DAVID LEON
                                                             ORAL ARGUMENT REQUESTED
                           Defendant.
                                                             NOTED ON MOTION CALENDAR:
                                                             July 6, 2018


Carnahan has substantial need of the recorded statement to establish liability and rebut
Leon’s defense centered around attacking the credibility of Carnahan’s testimony that Leon
hit him on the head.

         Leon’s arguments to this Court create the impression that his testimony does not contest

liability, and indeed that there is no dispute here as to liability:

                But Plaintiff himself has testified this occurred and no witness has testified under
                oath that the incident did not happen. ​In fact, in his deposition, Defendant Leon


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                  accedes to Plaintiff’s claim that the incident occurred but testified he just does not
                  have a memory of it. Therefore, there is no “impeachment value” in forcing
                  Defendant Leon to divulge protected conversations with his insurance carrier.1

    The reality in this case is just the opposite: Leon has never admitted and continues to deny

    liability. Defendant denied striking Evan Carnahan in the head in his Answer.2 He testified at his

    deposition that he had no present memory of the night in question, and never had a memory of it

    in the past.3 He has denied requests for admission asking him to admit striking Carnahan in the

    head.4 His counsel has attacked Carnahan’s testimony that Leon struck him on the head as a

    fabrication.5 As recently as this Monday, July 2, 2018, Leon’s counsel asked Carnahan’s treating

    neurologist at her deposition what evidence she had that Carnahan had been struck on the head.6

    Leon’s experts assume in forming their opinions that either Carnahan is lying about being struck

    in the head by Leon or that it is an open question.7 Leon has asserted as affirmative defenses that

    Carnahan’s own intoxication caused his injuries and that Carnahan was comparatively negligent.8

          Whether and how David Leon struck Evan Carnahan in the head on the night in question

    are thus very much issues that Leon has contested and will continue to contest at trial. And

    Leon’s strategy appears to be to do so primarily by attacking the credibility of Carnahan’s


1
        Dkt. 67 (Leon’s Response) at 4 (double emphasis in original).
2
        Compare ​Dkt. 1 (Complaint) at 4, paragraphs, 19, 21 (Leon negligently struck Carnahan in
the head with an airsoft gun, Leon admitted to it the next morning) ​with ​Dkt. 14 (Leon’s Answer)
at 2-3 (denying Paragraph 19 other than admitting he was Carnahan’s fraternity brother, denying
Paragraph 21 for lack of information).
3
        Dkt. 68 (Declaration of Jeff Sbaih and Deposition Excerpt) at 6-7.
4
        Dkt. 63-1 (Leon’s Responses to Plaintiff’s Second Discovery Requests) at 7-9.
5
        Dkt. 41 at 6-7.
6
        Second Declaration of Mark Choate.
7
        Second Declaration of Mark Choate.
8
        Dkt. 14 (Leon’s Answer) at 3.


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    testimony. If unchecked, Leon will continue to switch between arguments that he is or is not

    disputing whether the incident occurred depending on what is to his advantage at the moment.

    Plaintiff has a significant basis to believe that Leon’s recorded statement contains material,

    issue-dispositive admissions regarding 1) the state of Leon’s memory of the incident a month

    before his deposition and 2) the facts of the subject incident itself, facts that will likely

    corroborate Carnahan’s testimony. Plaintiff has substantial need for the recorded statement and

    the Court should order its immediate production.

    Leon continues to fail to demonstrate that disclosure of the unredacted reservation of rights
    letter was inadvertent and that his counsel took adequate precautions to prevent the
    disclosure.

           Despite having a second opportunity to do so, Leon has provided no further information

    supporting his argument that the disclosure of the unredacted reservation of rights letter was

    inadvertent -- as that term has been interpreted by federal courts (it is not simply that the party did

    not intend for the information to be disclosed) -- or that adequate precautions were taken to

    prevent disclosure.9 Leon’s argument that his claim of protection has not been waived as to the

    recorded statement itself because it was not produced is not supported by case law. The

    production of the unredacted reservation of rights letter resulted in waiver of not just the

    unredacted portions of the letter (if work product), but the recorded statement as well.10

    Leon has no defense to the argument that he waived any protection of communications
    regarding coverage.



9
       Dkt. 67 (Leon’s Response) at 3-4.
10
       See Informatica Corp. v. Business Objects Data Integration, Inc.,​ 454 F. Supp. 2d 957, 963
(N.D. Cal. 2006).


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         Leon provides no case law or argument to distinguish why Leon had a duty to disclose the

 reservation of rights letter (Dkt. 41-5) and the letter withdrawing the reservation of rights (Dkt.

 50-10) but not other communications between Leon’s attorneys and CSAA regarding coverage.11

 Leon also provides no basis for why the court should distinguish between communications

 between Leon and CSAA regarding coverage, and communication between Leon’s attorneys and

 CSAA regarding coverage. Leon’s attorneys are his agents in this matter. Either work-product

 protection does not apply to these communications or Leon has waived such protection by

 disclosure of the two letters.12

 Leon continues to improperly limit his discovery responses to his “first-hand knowledge” of
 the subject incident.

         Leon defends his responses to RFAs 8-15 as proper on the basis that he testified at his

 deposition that he “has no first-hand knowledge of the incident.”13 As discussed in Carnahan’s

 motion (Dkt. 63 at 8), if Leon lacks first-hand knowledge then he must undertake a good faith

 investigation of sources reasonably available to him,14 including his own recorded statement.15 If,

 after doing so, he is still unable to respond to the request, then the proper response would be that

 he can ​neither admit nor deny​ for lack of information and state that he has “made reasonable

 inquiry and that the information [he] knows ​or can readily obtain​ is insufficient to enable [him]



11
       Dkt. 67 (Leon’s Response) at 6.
12
       See Informatica Corp. v. Business Objects Data Integration, Inc.,​ 454 F. Supp. 2d 957, 963
(N.D. Cal. 2006) (waiver of work product protection “extends to factual or non-opinion work
product concerning the same subject matter as the disclosed work product.”)
13
       Dkt. 67 (Leon’s Response) at 10.
14
       See U.S. ex rel. Englund v. Los Angeles Cty​., 235 F.R.D. 675, 685 (E.D. Cal. 2006)
15
       Dkt. 63 (Motion to Compel) at 8-9.


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 to admit or deny.”16 Leon’s continued denial of these responses on the basis of his asserted lack of

 first-hand knowledge alone cannot be justified and Leon does not provide any legal support for

 his position.

 Leon does not address or acknowledge that work-product protection does not apply to
 underlying facts contained in the materials claimed to be work-product.

         Similarly, Leon does not attempt to address the argument and case law cited by plaintiff

 that a claim of work-product protection 1) does not extend to the underlying facts contained in the

 material claimed as work product and 2) does not prevent discovery by an opposing party of

 information contained in documents claimed as protected.17 This is a significant omission, both

 with respect to Leon’s arguments regarding the sufficiency of his responses to the requests for

 admission, and Leon’s demand that Carnahan’s counsel should be admonished for those same

 requests. Because plaintiff is correct on the law and its application here, Leon’s demand should

 be denied, and plaintiff’s motion should be granted.

         Dated: Friday, July 6, 2018.
                                                      Respectfully Submitted,

                                                   By:          s/Jon Choate
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16
         See, e.g., F.D.I.C. v. Halpern​, 271 F.R.D. 191, 193-94 (D. Nev. 2010) (emphasis added).
17
         Dkt. 63 (Motion to Compel) at 9-10.


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CERTIFICATE OF SERVICE

The undersigned certifies that under penalty of perjury under the laws of the State of Washington
that on the below date I caused to be served the foregoing document on:

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Executed on July 6, 2018 at Brooklyn, New York.

______​s/ Jon Choate_​ ____________
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